Case 16-00186-ref        Doc 38     Filed 10/17/17 Entered 10/17/17 17:19:27          Desc Main
                                    Document      Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In re
                                                Case No. 16-bk-11983-REF
TIMOTHY DOUGLAS HAYES,
                                                Chapter Number: 7
                    Debtor.

315 BOWERY HOLDINGS, LLC and
CBGB FESTIVAL, LLC
                                                 Adversary No. 16-186
                    Plaintiffs,
        v.                                       STATUS REPORT
TIMOTHY HAYES,
                    Defendant.


        Pursuant to the Court’s December 23, 2016 Order in this Adversary Proceeding

(Adv. Dkt. No. 33), by which the Court stayed the Nondischargeability Action pending a final

determination and judgment in the New York state court action SW Productions, Inc. v. CBGB

Festival, LLC, No. 652990/2014 (Sup. Ct. N.Y. County 2014) (the “New York Action”),

Plaintiffs 315 Bowery Holdings, LLC and CBGB Festival, LLC (together, “CBGB”), through

their undersigned counsel, hereby submit this Status Report outlining the status of the New York

Action since the parties’ last report.

        1.     Upon the departure of Justice Oing, who was appointed to the New York

Appellate Division, First Department, the case has been reassigned to Justice Andrea Masley.

        2.     The stipulated stay of discovery in the New York Action expired on July 17, 2017

and discovery has since resumed.

        3.     On August 9, 2017, the Court issued an order directing that depositions of all

parties are to be completed by November 17, 2017 and extending the date for the completion of

all disclosure to January 19, 2018. (See New York Action, Dkt. No. 244.)
Case 16-00186-ref      Doc 38     Filed 10/17/17 Entered 10/17/17 17:19:27          Desc Main
                                  Document      Page 2 of 2


       4.     A motion seeking to amend CBGB’s Second Amended Answer and

Counterclaims to add an additional third-party defendant, filed on September 8, 2017 (see New

York Action, Dkt. No. 246), will be fully briefed by October 17, 2017; and an Order to Show

Cause seeking discovery sanctions against Plaintiff SW Productions, Inc., filed on September 29,

2017 (see New York Action, Dkt. No. 254), is currently sub judice.

       5.     CBGB intends to make a motion before this Bankruptcy Court to lift the stay of

this Nondischargeability Action for the limited purpose of conducting the deposition of Timothy

Hayes in both the New York and in this Nondischargeability Action.


Respectfully Submitted: October 12, 2017

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